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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

ALEXANDER STROSS                                :
                                                :
               Plaintiff,                       :               CIVIL ACTION # 5:18-cv-1039
                                                :
       vs.                                      :
                                                :
HEARST COMMUNICATIONS, INC.                     :                            JURY DEMANDED
                                                :
               Defendant                        :
                                                :
                                                :

                              PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff Alexander Stross respectfully alleges as follows for his original complaint

against Hearst, Inc.

                                             PARTIES

       1.      Plaintiff Alexander Stross (“Plaintiff” or “Stross”) is a resident of Austin, Texas.

       2.      Defendant Hearst Communications, Inc. (“Defendant” or “Hearst”) is a Delaware

Corporation registered to do business in Texas. According to records filed with the Texas

Secretary of State, Hearst may be served with process through its agent CT Corporation, 1999

Bryan St., Ste. 900, Dallas, TX 75201-3136.

                                    NATURE OF THE CLAIMS

       3.      This is an action for copyright infringement under 17 U.S.C. § 101 et seq., arising

in connection with Defendant’s unauthorized commercial exploitation of Plaintiff’s federally

registered photographs.




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                                        JURISDICTION and VENUE

        4.          This Court has subject matter jurisdiction over this action under 17 U.S.C. §§ 101

et seq. (the U.S. Copyright Act); and 28 U.S.C §§ 1331 (federal question) and 1338(a)

(copyrights).

        5.          The Court has personal jurisdiction over the Defendant, and venue in this District

is proper under 28 U.S.C. § 1400 and 28 U.S.C. § 1391(b), because Defendant may be found in

this District, and because a substantial part of the events giving rise to Plaintiff’s claim occurred

in this District.

                                        CONDITIONS PRECEDENT

        6.          All conditions precedent have been performed or have occurred.

                                          BACKGROUND FACTS

        7.          Stross is an accomplished architectural photographer who has worked with some

of the most respected names in Central Texas real estate, including Dick Clark Architecture,

Wilson Goldrick Realtors, Gottesman Residential, John Luce Builder, and Fleetwood USA.

Licensed uses of his works have appeared in publications such as People, Country Living,

Luxury Home Magazine, Luxe, Refine and New Home Guide; as well as appearing on billboards,

online advertising, and on broadcast shows, including the Today Show and Yahoo! News with

Katy Couric. Stross utilizes a painstaking photography process – creating multiple exposures of

each subject, and combining and processing them to create richly detailed images. His hard

work and talent have earned him a reputation as one of Austin’s most gifted architectural

photographers.




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          8.      Hearst is an American mass media and business information conglomerate based

in New York City, which owns a variety of newspapers and magazines, including the San

Antonio Express News, the Houston Chronicle, Country Living and Cosmopolitan.

The Tiny House Photographs

          9.      On or about November 11, 2011, Mr. Stross photographed a group of so-called

“tiny houses” outside of Llano, Texas – built by lifelong girlfriends seeking a country retreat (the

“Tiny House Photographs”). The tiny houses were designed by Austin-based architect Matt

Garcia, to whom Mr. Stross granted a limited, non-assignable right to use the photographs for

promotional purposes on his website, and in a single story published by Yahoo! News. Stross

timely registered each of the Tiny House Photographs with the U.S. Copyright Office on

February 20, 2012, bearing registration number VAu 1-089-810.1

          10.     On or about May 8, 2015, Mr. Stross was contacted by online pop-culture media

blog “PopSugar” – requesting permission to reprint the Tiny House Photographs in a story about

the project. Over the next few days – the story went viral, and Mr. Stross received dozens of

additional requests from media outlets across the country.

          11.     On May 11, 2015, Tyler White – who identified himself as a digital reporter for

the San Antonio Express News – contacted Mr. Stross to request authorization to use the Tiny

House Photographs in a single story on mysanantonio.com – promising to provide a link to Mr.

Stross’ website, and a photo credit. Stross authorized the single use; however, unbeknownst to

him, and without his authorization, the photographs appeared in an additional ten (10) articles

published on mysanantonio.com – by a variety of authors, including Tyler White, Rebecca

Salinas, Erin Mulvaney, Madalyn Mendoza and Darla Guillen. Moreover, each of those eleven

articles (including the original article by Tyler White) were republished in as many as nineteen
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    A true and copy of Stross’ registration certificate is attached as Exhibit A.


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(19) other newspaper websites believed to be owned and operated by Hearst: chron.com,

sfgate.com, ctpost.com, Seattlpi.com, timesunion.com, thetelegraph.com, registercitizen.com,

newstimes.com,       myplainview.com,        nhregister.com,       mrt.com,      ourmidland.com,

middletownpress.com,        myjournalcourier.com,        michigansthumb.com,         thehour.com,

greenwichtime.com, beaumontenterprise.com, and LMTonline.com. With the exception of the

original story published by White, none of the other publications were authorized, and none of

them included the link back to Stross’ website.

       12.     On May 11, 2015, Stross was contacted by another Hearst reporter – Joselyn

Winkfield – who identified herself as a reporter for Country Living magazine. Like Mr. White,

Ms. Winkfield requested permission to utilize several of the Tiny House Photographs (6 total)

for a single publication – a story in Country Living – promising a photo credit, and a link back to

Stross’ website. Stross authorized the single use, but again – unbeknownst to him and without

his authorization, those same photos appeared in an additional three publications:

housebeautiful.com, ELLE.com and Cosmo.com.

The 616 Oakland Photographs

       13.     A second set of photographs, featuring a home that Stross remodeled at 616

Oakland in Austin, Texas (the “616 Oakland Photographs”), was also used by a Hearst

publication without authorization – in an article by Lauren Smith, originally published at

housebeautiful.com on August 17, 2015. The article and photographs appear to have been

plagiarized from several sources, including a self–published article by Stross in 2015, and

another unauthorized article appearing in an online magazine called Curbed.




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        14.     Stross timely registered all but one of the 616 Oakland Photographs with the U.S.

Copyright Office between April 9, 2010 and July 17, 2015, bearing registration numbers VAu 1-

103-498, VAu 1-201-815 and VAu 1-219-537.2

        15.     In all, Stross believes that Hearst used his photographs in a total of 209

publications without authorization or compensation. Defendant was well aware that permission

was required, having sought Stross’ authorization for two articles. Accordingly, its subsequent

infringement of Stross’ copyrights was by all appearances willful.

        16.     Stross now brings this suit for copyright infringement.

                                          COUNT I:
                                   COPYRIGHT INFRINGEMENT

        17.     Plaintiff realleges and incorporates herein the foregoing paragraphs.

        18.     By its actions alleged above, Defendant has infringed Plaintiff’s federally

registered copyrights. Specifically, by copying, distributing and/or displaying the Photographs

without his consent, Defendant has infringed Plaintiff’s exclusive rights set forth in 17 U.S.C. §

106, and is liable therefor.

        19.     Defendant’s actions constituted willful infringement of Plaintiff’s copyrights

inasmuch as Defendant knew, or had reason to know, that its actions constituted copyright

infringement; and/or because it acted with reckless disregard of Plaintiff’s copyrights.

        20.     As a result of the foregoing, Plaintiff is entitled to actual damages plus profits of

the Defendant; and/or statutory damages of up to $150,000 per work infringed, plus attorney’s

fees and costs of court. 17 U.S.C. §§ 504, 505.




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 True and correct copies of Stross’ registration certificates are attached as Exhibit B. One of the
photographs used by House Beautiful was inadvertently omitted from Stross’ registrations;
however, he currently seeks no recovery for that photograph.


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                                         JURY DEMAND

       21.     Plaintiff asserts his rights under the Seventh Amendment to the U.S. Constitution

and demands, in accordance with Federal Rule of Civil Procedure 38, a trial by jury on all issues.

                                            PRAYER

       Plaintiff prays for:

       A.      An order that Defendant and all persons under its direction, control, permission or

authority be enjoined and permanently restrained from exploiting the Photo;

       B.      An award of actual damages and/or statutory damages under 17 U.S.C. § 504(c);

       C.      An award to Plaintiff of his reasonable costs and attorney’s fees under 17 U.S.C.

§§ 505;

       D.      Prejudgment and post-judgment interest on any damage award as permitted by

law; and

       E.      Such other and further relief as the Court may deem just, proper and/or necessary

under the circumstances.

                                     Dated this 2nd Day of October, 2018

                                     LAW OFFICE OF BUCK MCKINNEY, PC



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